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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN DIVISION
11

12     CLIFTON MORROW,                          )   No. CV 22-893-CJC (PLA)
                                                )
13                        Petitioner,           )   JUDGMENT
                                                )
14                  v.                          )
                                                )
15     JIM ROBERTSON,                           )
                                                )
16                        Respondent.           )
                                                )
17

18           Pursuant to the Order Accepting Magistrate Judge’s Report and Recommendation,
19     IT IS ADJUDGED that the Petition is denied and dismissed
                                                              d with
                                                       ismissed with prejudice.
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21     DATED: -XQH
                                                          HONORABLE CORMAC
                                                                     CO
                                                                      ORMAC J. CARNEY
                                                                               CARNNEY
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22                                                        UNITED STATES DISTRICT JUD
                                                                                 JUDGE
                                                                                   DGE
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